Filed 8/23/24 P. v. Zamora CA2/5
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION FIVE


THE PEOPLE,                                                  B324747

         Plaintiff and Respondent,                           (Los Angeles County
                                                             Super. Ct. No. BA193636)
         v.

JAVIER ZAMORA,

         Defendant and Appellant.


      APPEAL from an order of the Superior Court of Los
Angeles County, Thomas Rubinson, Judge. Affirmed.
      Steven S. Lubliner, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Senior
Assistant Attorney General, Scott A. Taryle and Daniel C. Chang,
Deputy Attorneys General, for Plaintiff and Respondent.
                     I.     INTRODUCTION

      In 2000, a jury convicted defendant Javier Zamora of
attempted murder, assault with a firearm, attempted second
degree robbery, and assault by means of force likely to produce
great bodily injury. The jury also found true criminal street gang
and firearm allegations. In 2021, defendant filed a petition for
resentencing of his attempted murder conviction pursuant to
former Penal Code section 1170.951. The trial court denied the
petition and defendant appeals. We affirm.

                      II.   BACKGROUND

A.    Defendant’s Underlying Convictions

      The following background is taken from the unpublished
opinion of a prior panel of this Division that heard the direct
appeal from defendant’s underlying convictions (People v.
Gallardo (Oct. 11, 2001, B143091) [nonpub. opn.] (Gallardo))2:


1     All further statutory references are to the Penal Code
unless otherwise stated. Effective June 30, 2022, the Legislature
renumbered section 1170.95 to section 1172.6 with no change in
text. (Stats. 2022, ch. 58, § 10.) Further references will be to the
statute’s current section number only.

2     Neither party contends the facts as recited in the prior
appellate opinion do not accurately reflect the facts in the trial
record in this matter. Accordingly, we set forth the facts from the
prior opinion as context for defendant’s claims. Below, we will set
forth and address other facts from the record of defendant’s
underlying convictions as necessary.




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      “Hugo Cruz was a member of the Avenues gang. He had a
history of selling drugs. On October 6, 1999, at 10:00 p.m., four
other members of the Avenues gang, defendant Zamora,
defendant [Roberto] Gallardo, Harold Riley, and Marvin Ponce3
approached Cruz outside his apartment building, demanding
money. When Cruz refused, the four men beat him, knocked him
down, and kicked him. Defendant Zamora, Riley, and Ponce
dragged Cruz into Cruz’s apartment. While defendant Gallardo
remained outside as a look-out, defendant Zamora, Riley, and
Ponce continued to hit Cruz and ransacked the apartment. Two
of the men brandished guns, stating they would kill Cruz. Cruz
told them he had no money to give them. Cruz was then shot in
the head and leg. The four men ran away.
       “The police arrived at 10:30 p.m. Cruz locked the door and
did not let them in. The police broke down the door with an ax in
order to gain entry. They found Cruz somewhat dazed and
covered with blood. The apartment was in a ransacked and
bloody condition and the top of the toilet tank was resting on a
stool. A baggie containing a small amount of white powder was
found. When asked who did this to him, Cruz replied, ‘I don’t
know why [Riley] did this.’ Cruz was reluctant to talk to the
police. He hesitated to be specific concerning the incident. He
initially refused medical treatment at the scene, although, after

“3     We have reviewed the superior court file. Riley and Ponce
were also charged. Riley has not been arrested. Pursuant to a
plea agreement, Ponce, who was arraigned six months after
defendants were arrested, was convicted of attempted murder in
violation of sections 664 and 187, subdivision (a). Special
allegations pursuant to sections 12022.7, subdivision (a) and
12022.5, subdivision (a)(1) were found true. He was sentenced to
13 years in state prison.




                                3
resisting, he allowed himself to be taken to the hospital. The
information he gave the police had to be pried out of him, and he
did not give details. Cruz stated four Avenues gang members
whom he identified as Riley, defendant Zamora, Ponce, and a
fourth person, whose name he did not know, came to his
apartment and demanded money. When he told them he had no
money, Riley and defendant Zamora produced handguns and
threatened him. When he again refused to give them money,
Riley and defendant Zamora shot him.
       “On October 8, 1999, Cruz identified the four assailants,
including defendants, from photographs in the Avenues gang
mug book. He named Riley, defendant Zamora, and Ponce, but
he could not remember defendant Gallardo’s name. However, he
refused to sign his name on the photographs he had identified.
       “On October 30, 1999, Cruz was arrested for being a felon
in possession of a firearm. The police interviewed him when he
was in jail subsequent to the arrest. This interview took place
within several days after Saturday, October 30, 1999, the day he
was arrested. Cruz told the police the following. As he was
leaving his apartment on October 6, 1999, Riley and Ponce
arrived and demanded money. He told them he had no money to
give them, and then defendants arrived. Riley, Ponce, and
defendant Gallardo spoke together in whispers. Then they all
started to hit him. They tried to put him in the trunk of their
car, but he successfully resisted. In the apartment, Riley and
Ponce pulled out guns. Riley said he was going to kill Cruz.
Then Cruz was shot. They continued to fight with him. They
insisted they wanted money and kept looking for money. They
stole Cruz’s wallet, which contained $80, rings, a gold chain, and
a CD player. Cruz identified photographs of defendants, Riley,




                                4
and Ponce. He identified defendant Gallardo by name. Cruz
stated he did not remember talking to the police on the night of
the crime. On several occasions shortly after he had come home
from the hospital, representatives from the gang told Cruz
everything was fine and the gang would not bother him any
more. Cruz believed the gang still wanted to kill him. Cruz
denied the gang was trying to collect money from him for selling
drugs.
       “Gilberto Rodriguez witnessed the assault outside the
apartment building. Rodriguez gave information to the police on
October 7, 1999, when the police picked him up for truancy.
Rodriguez never saw Cruz after October 6, 1999. Rodriguez was
an Avenues gang member and knew defendants. He identified
defendants as two of Cruz’s assailants. He selected their pictures
from a gang photo book. Rodriguez told the police that
defendants, Riley, and Ponce beat and kicked Cruz. The four
men dragged Cruz inside his apartment, while continuing to hit
him. Defendant Gallardo then went back outside to watch the
street. Rodriguez was worried the gang would retaliate against
him and his family, because he had told the police the identity of
the gang members who had assaulted Cruz.” (Gallardo, supra,
B143091.)
       On appeal, defendant contended, among other things, there
was insufficient evidence he intended to kill Cruz. A prior panel
of this division rejected defendant’s contention, holding,
“Substantial evidence supports a finding defendant . . . possessed
the required intent to kill Cruz both as the actual perpetrator
and an aider and abettor. Defendant[’s] . . . intent to kill can
reasonably be inferred from the evidence of gun shots to Cruz’s
head and Cruz’s October 6, 1999[,] statement to the police




                                5
identifying defendant . . . as one of the shooters. This was
substantial evidence defendant . . . directly committed the act
constituting attempted murder.” (Gallardo, supra, B143091.)

B.    Defendant’s Section 1172.6 Petition

       On December 1, 2021, defendant filed a section 1172.6
petition for resentencing of his attempted murder conviction. The
trial court appointed counsel to represent him. On May 26, 2022,
the prosecution filed its response to defendant’s petition. On
June 6, 2022, defendant filed his reply. After argument by the
parties, the trial court found defendant’s petition made a prima
facia showing that he was entitled to relief and set the matter for
an order to show cause hearing.
       On August 9, 2022, the prosecution filed a supplemental
brief in opposition to defendant’s section 1172.6 petition in which
it asked the trial court to make an independent determination of
the facts based on the evidence presented at the preliminary
hearing and the trial. It requested the court to take judicial
notice of the record on appeal in Gallardo, supra, B143091
including but not limited to the appellate court opinion; the
clerk’s transcript, including the preliminary hearing transcript;
and the reporter’s transcript, all of which it submitted on a disc.
       On October 11, 2022, the trial court held an evidentiary
hearing on defendant’s section 1172.6 petition. At the outset of
the hearing, the court stated it had read the trial transcript the
prosecutor had provided on a disc and the parties’ briefs on the
evidence.4

4    The court did not expressly rule on the prosecution’s
request to take judicial notice of the record on appeal in Gallardo,




                                 6
      Defense counsel argued that Cruz’s statements to the police
that had been admitted at trial under Evidence Code section
1370 were inadmissible in a section 1172.6 evidentiary hearing
because they were testimonial and violated his confrontation
rights as explained in Crawford v. Washington (2004) 541 U.S. 36(Crawford) and People v. Livingston (2012) 53 Cal.4th 1145(Livingston). Counsel did not specify the statements he believed
were admitted under Evidence Code section 1370. It appears
that at defendant’s trial, the trial court admitted Cruz’s
statement to the police on October 6, 1999, under Evidence Code
section 1240, and his statements to the police on October 8, 1999,
and after October 30, 1999, under Evidence Code section 1370.5


supra, B143091. We infer, however, from the court’s statement
that it read the trial transcript and from the absence of any
contrary indication that the court implicitly granted the
prosecution’s request.

5     In his prior appeal, defendant challenged the court’s
admission of Cruz’s statements to the police on October 8, 1999,
and after October 30, 1999, under Evidence Code section 1370.
The prior panel of this division held the court did not abuse its
discretion in admitting the statements. (Gallardo, supra,
B143091.) As for Cruz’s statement to the police on October 6,
1999, defense counsel had conceded in defendant’s trial that
Cruz’s statement “at the scene while he was—his wound was
being tended by the paramedics probably can qualify as an
excited utterance and a spontaneous statement”—i.e., that it was
admissible under Evidence Code section 1240.
      In connection with defendant’s appellate claim that defense
counsel was ineffective for failing to object to Cruz’s out of court
statements on the grounds that he was not unavailable to testify
and admission of the statements violated his constitutional
rights, the prior panel stated that Cruz’s October 6, 1999,




                                 7
         The prosecutor argued that the right to confrontation as
explained in Crawford, supra, 541 U.S. 36, was a trial right not
implicated in a section 1172.6 evidentiary hearing. Defense
counsel responded that a “Constitutional objection would not
lie. . . . [¶] So I would be submitting on that point if we were
talking about a constitutional objection at this hearing. I’m not.
What I’m saying is that at the trial, [section] 1172.6 requires that
the evidence that was admitted at trial still would be admissible
under current law. That’s what this section says. And what I’m
saying is it’s not admissible under current law at trial. Here it
would be admissible. I submit on that point today.”
         The trial court stated it was conducting a de novo review of
the evidence presented at trial. It then stated, “I believe that
even without the testimony of Mr. Cruz, which was admitted per
[Evidence Code section] 1370, even if you exci[s]e that, there
would still be enough evidence here to convict [defendant] beyond
a reasonable doubt based upon spontaneous statements made by
Mr. Cruz to several officers at the scene” and Rodriguez’s
testimony. The court explained it was relying on Cruz’s
statements when Cruz was “bloody from being shot in a blood
spattered apartment” and not Cruz’s later statements “back at
the station” that were “no longer spontaneous.”
         The trial court then discussed the evidence on which it
relied. On October 6, 1999, Los Angeles Police Department
(LAPD) Sergeant Stephen Cunningham took a spontaneous
statement from a bloody and injured Cruz at the scene that he
did not know “‘why Sparky did this.’”


statement identifying defendant as one of the shooters would
have been admissible under Evidence Code section 1240 even if
Cruz had testified. (Gallardo, supra, B143091.)




                                  8
     LAPD officer Julio Duarte testified that Cruz said that men
entered his apartment and demanded money.6 When he refused,
two of the men produced handguns and threatened him. When
he again refused, he was shot. The prosecutor asked if Cruz
“indicate[d] who did this to him.” Officer Duarte responded that
he recalled Cruz provided nicknames of two of the men who
entered his apartment—“Sparky” and “possibly Chayo.” The
third man was “Little Speedo’s” brother. These statements
occurred “right after the crime happened,” that is, on October 6,
1999. The court believe Cruz’s statements were excited
utterances under Evidence Code section 1240.
      Officer Perez interviewed Cruz at the crime scene. Officer
Perez described Cruz as “dazed” and “not quite all there.” Cruz
told Officer Perez that he had been sitting in his living room
when four of his friends entered and asked him for money. When
he responded that he did not have any money, two of his friends
pulled out handguns and one of them began to shoot. The court
ruled that these statements “would be likely to be admitted”
under Evidence Code section 1240.
      The court noted that Officer Perez testified about further
details of the crime Cruz had related to him—“who did it, and
who did what.” The court ruled this statement was not




6      Officer Duarte was relating statements he heard a bleeding
Cruz make outside his apartment on October 6, 1999, to LAPD
officers Juan Perez and L. Thompson (first name not provided)
who interviewed Cruz “about what had happened.”




                                9
spontaneous because Officer Perez had to “pry” it out of Cruz,
and it would not be proper for the court to consider it.7
      The trial court then addressed Rodriguez’s testimony.
Rodriguez testified he saw defendant and Gallardo beat up Cruz
outside Cruz’s apartment. Defendant took Cruz’s apartment keys
from Cruz and opened Cruz’s apartment. Defendant and two of
his companions took Cruz inside Cruz’s apartment; Gallardo
waited outside as a lookout. While defendant and his two
companions were inside Cruz’s apartment, Rodriguez heard two
“blows” that could have been gunfire. Defendant and his two
companions left Cruz’s apartment and rejoined Gallardo. All four
fled on foot. Rodriguez identified defendant as “Chayo.”8
      The trial court found, based on Cruz’s admissible
statements and Rodriguez’s testimony, that there was “sufficient
evidence to prove this case under current law beyond a
reasonable doubt.” Accordingly, it denied defendant’s petition for
resentencing.




7     The statement Officer Perez had to “pry” out of Cruz was as
follows: Four of his friends entered his apartment and asked for
money. When he said he did not have any, suspects one and two
began to shoot and then fled. Cruz identified suspect one as
“Sparky” and suspect two as “Chayo.”

8      At trial, Rodriguez identified defendant’s nickname as
“Child.” Rodriguez identified defendant’s gang name as “Chayo”
in his preliminary hearing testimony. LAPD gang officer Elias
Villasenor testified he learned defendant had the nickname
“Child” or “Chayo” from a report.




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                      III.   DISCUSSION

A.    Substantial Evidence

      Defendant contends the trial court erred in denying his
section 1172.6 petition because substantial evidence does not
support his attempted murder conviction under an aider and an
abettor theory. We disagree.

      1.    Standard of Review

       “In determining whether a trial court correctly denied a
section 1172.6 petition following an evidentiary hearing, ‘“‘we
review the factual findings for substantial evidence and the
application of those facts to the statute de novo.’”’ [Citation.]”
(People v. Arnold (2023) 93 Cal.App.5th 376, 383.) “‘A substantial
evidence inquiry examines the record in the light most favorable
to the judgment and upholds it if the record contains reasonable,
credible evidence of solid value upon which a reasonable trier of
fact could have relied in reaching the conclusion in question.
Once such evidence is found, the substantial evidence test is
satisfied. [Citation.] Even when there is a significant amount of
countervailing evidence, the testimony of a single witness that
satisfies the standard is sufficient to uphold the finding.’
[Citations.]” (People v. Fuiava (2012) 53 Cal.4th 622, 711.)

      2.    Legal Principles and Analysis

      “‘A “person aids and abets the commission of a crime when
he or she, acting with (1) knowledge of the unlawful purpose of




                                 11
the perpetrator; and (2) the intent or purpose of committing,
encouraging, or facilitating the commission of the offense, (3) by
act or advice aids, promotes, encourages or instigates, the
commission of the crime.”’ [Citation.] ‘[T]o be guilty of attempted
murder as an aider and abettor, a person must give aid or
encouragement with knowledge of the direct perpetrator’s intent
to kill and with the purpose of facilitating the direct perpetrator’s
accomplishment of the intended killing—which means that the
person guilty of attempted murder as an aider and abettor must
intend to kill.’ [Citation.]” (People v. Nguyen (2015) 61 Cal.4th
1015, 1054 (Nguyen).)
       “‘Evidence of a defendant’s state of mind is almost
inevitably circumstantial, but circumstantial evidence is as
sufficient as direct evidence to support a conviction.’ [Citation.]”
(Nguyen, supra, 61 Cal.4th at p. 1055.) “[T]he act of purposefully
firing a lethal weapon at another at close range gives rise to an
inference of intent to kill . . . .” (People v. Smith (2005) 37 Cal.4th
733, 741.)
       “‘Whether a person has aided and abetted in the
commission of a crime ordinarily is a question of fact . . . . [¶] . . .
[¶] Among the factors which may be considered in making the
determination of aiding and abetting are: presence at the scene
of the crime, companionship, and conduct before and after the
offense.’ [Citation.]” (Nguyen, supra, 61 Cal.4th at p. 1054; In re
Lynette G. (1976) 54 Cal.App.3d 1087, 1095 [aiding and abetting
factors include presence at the scene of a crime and flight with
the perpetrator].)
       Substantial evidence supports defendant’s guilt as an aider
and abettor in Cruz’s attempted murder based on his presence at
the scene; companionship with Gallardo, Riley, and Ponce; and




                                  12
conduct before and after Cruz was shot. Rodriguez testified that
defendant and three others approached Cruz outside Cruz’s
apartment. Defendant and his companions beat up Cruz,
knocked him to the ground, and kicked him. Defendant then took
Cruz’s apartment keys and opened Cruz’s apartment.
Defendant’s companions continued to beat Cruz and pulled him
into his apartment. While inside the apartment, Cruz was shot
twice—in the leg and head. After the shooting, defendant fled on
foot with his three companions.

B.    Evidentiary Error

      Defendant contends the trial court violated his Sixth
Amendment right to confrontation to the extent that it relied on
testimonial hearsay from Cruz that had been admitted in
defendant’s trial pursuant to Evidence Code section 1370.9
Defendant does not challenge the admission of Cruz’s “initial
excited utterances on October 6” or Rodriguez’s testimony.
       The trial court expressly stated that it would not consider
the statements that officers had to “pry” from Cruz and would
only consider Cruz’s excited utterances to the officers on October
6. We assume the court did what it said it would do. (See People
v. Cain (1995) 10 Cal.4th 1, 81, fn. omitted [the assumption that
the trial court was not improperly influenced by material in a
probation report was “amply supported by the record: before
ruling the court explained its view ‘the court should not take into
consideration the contents of the probation report’; after ruling

9     For purposes of our analysis, we will assume that the Sixth
Amendment right to confrontation applies in a section 1172.6
proceeding.




                                13
the court repeated, ‘I base my ruling entirely upon the evidence
that was presented in the trial’”].)
       Moreover, even if the trial court relied on any of Cruz’s
“pried” statements to the officers, any error was harmless under
any standard because, as we discuss above, Rodriguez’s
unchallenged testimony alone was substantial evidence to
support the court’s denial of defendant’s resentencing petition.
(See People v. Myles (2021) 69 Cal.App.5th 688, 706 [the People v.
Watson (1956) 46 Cal.2d 818, 836 harmless error standard
applies to evidentiary errors at section 1172.6 hearings];
Livingston, supra, 53 Cal.4th at p. 1159 [the erroneous admission
of testimonial hearsay in violation of the Confrontation clause is
subject to federal harmless-error analysis under Chapman v.
California (1967) 386 U.S. 18, 24].)




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                        IV.   DISPOSITION

     The order is affirmed.

     NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                        KIM, J.



We concur:




             MOOR, Acting P. J.




             LEE, J.




     Judge of the San Bernardino Superior Court, assigned by
the Chief Justice pursuant to article VI, section 6 of the
California Constitution.




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